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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 19-cv-62693-BLOOM/Valle

      ABS-CBN CORPORATION, et al.,

                    Plaintiffs,

      vs.

      ABSCBNPINOY.COM, et al.,

                    Defendants.
                                                     /

       ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

            THIS CAUSE is before the Court upon Plaintiffs’ Motion for Preliminary Injunction, ECF

  No. [5] (“Motion”). The Court has carefully considered the Motion, the record in this case, and the

  applicable law, and is otherwise fully advised.

            By the instant Motion, Plaintiffs, ABS-CBN Corporation, ABS-CBN Film Productions,

  Inc., d/b/a Star Cinema, and ABS-CBN International (“Plaintiffs”) move, for entry of a preliminary

  injunction against Defendants1 for alleged violations of the Lanham Act, 15 U.S.C. §§ 1114 and

  1125(a), and the Copyright Act, 17 U.S.C. § 101 et seq.

            The Court held a telephonic hearing on November 13, 2019, which was attended by counsel

  for Plaintiffs only. During the hearing, Plaintiffs directed the Court to evidence supporting the

  Motion for Preliminary Injunction. Nevertheless, none of the Defendants formally responded to

  the Motion, nor have they made any appearance or filing in this case, either individually or through




  1
   Defendants are the Individuals, Partnerships, and Unincorporated Associations identified on Schedule
  “A” hereto (collectively “Defendants”)
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  counsel. Because Plaintiffs have satisfied the requirements for the issuance of a preliminary

  injunction, the Court grants the Motion.

                                 I.       FACTUAL BACKGROUND2

          Plaintiff ABS-CBN International is the registered owner of the following trademarks

  registered on the Principal Register of the United States Patent and Trademark Office (collectively,

  the “ABS-CBN Registered Marks”):

                       Registration        Registration
       Trademark        Number                Date                        Class/Services
                                                               IC 036 – telephone calling card
                                                               services

                                                               IC 038 – Television broadcasting
        ABS-CBN          2,334,131        March 28, 2000       services via satellite and cable
                                                               IC 038 – Television broadcasting
                                                               services via satellite and cable

                                                               IC 041 – Production and
                                                               programming of television shows,
                                                               entertainment and a variety of
                                                               programming distributed over
                                                               television, satellite and via a global
           TFC           3,733,072          Jan. 5, 2010       computer network

  See Declaration of Elisha J. Lawrence, ECF No. [5-1] at 5; ECF No. [1-2] (containing Certificates

  of Registrations for the ABS-CBN Registered Marks at issue). ABS-CBN Registered Marks are

  used in connection with the creation and distribution of quality entertainment content in the

  categories identified above. See Declaration of Elisha J. Lawrence, ECF No. [5-1] at 4-5.

          Plaintiff ABS-CBN International is further the owner of all rights in and to the following

  common law trademark (the “ABS-CBN Common Law Mark”):



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    The factual background is taken from Plaintiffs’ Complaint, ECF No. [1], Plaintiffs’ Motion, ECF No.
  [5], and supporting evidentiary submissions. Plaintiffs filed declarations and exhibits annexed thereto in
  support of their Motion. The declarations are available in the docket at the following entries: Declaration
  of Elisha J. Lawrence, ECF No. [5-1], and Declaration of Christine Ann Daley, ECF No. [5-2].


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                                             Trademark




  See Declaration of Elisha J. Lawrence, ECF No. [5-1] at 6. The ABS-CBN Common Law Mark is

  used in connection with the creation and distribution of quality entertainment content. See

  Declaration of Elisha J. Lawrence, ECF No. [5-1] at 6. Together, the ABS-CBN Registered Marks

  and the ABS-CBN Common Law Mark are referred to as the “ABS-CBN Marks.” Plaintiffs ABS-

  CBN Corporation, ABS-CBN Film Productions, Inc., and ABS-CBN International share exclusive

  rights in and to the ABS-CBN Marks. Moreover, ABS-CBN Corporation, ABS-CBN Film

  Productions, Inc., and ABS-CBN International are all licensed to use and enforce the ABS-CBN

  Marks. See Declaration of Elisha J. Lawrence, ECF No. [5-1] at 6.

         Plaintiff ABS-CBN Film Productions, Inc. is the owner of the registered copyrights in and

  to the movies specifically identified in Exhibit 2 to the Complaint, ECF No. [1-3]. See Declaration

  of Elisha J. Lawrence, ECF No. [5-1] at 4. Moreover, Plaintiff ABS-CBN Corporation is the owner

  of many unregistered copyrights, including but not limited to those specifically identified in

  paragraph 26 of the Complaint and in Exhibit 3 thereto, ECF No. [1-4]. See Declaration of Elisha

  J. Lawrence, ECF No. [5-1] at 4. Collectively, these registered and unregistered copyrighted works

  are referred to herein as the “Copyrighted Works.” ABS-CBN Corporation, ABS-CBN Film

  Productions, and ABS-CBN International all share exclusive rights in and to the Copyrighted

  Works. See Declaration of Elisha J. Lawrence, ECF No. [5-1] at 4.




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          Defendants, through the various Internet websites operating under their domain names

  identified on Schedule “A” hereto (the “Subject Domain Names”) have advertised, promoted,

  offered for distribution, distributed and/or publicly performed the Copyrighted Works under what

  Plaintiffs have determined to be counterfeits, infringements, reproductions, and/or colorable

  imitations of the ABS-CBN Marks. See Declaration of Elisha J. Lawrence, ECF No. [5-1] at 12-

  15; see also Declaration of Christine Ann Daley, ECF No. [5-2] at 2; and Exhibit 3 to the

  Complaint, ECF No. [1-4].

          Although each Defendant may not copy and infringe each of Plaintiffs’ trademarks for each

  category of services protected, Plaintiffs have submitted sufficient evidence showing each

  Defendant has infringed, at least, one or more of the ABS-CBN Marks and the Copyrighted Works

  at issue. See Declaration of Elisha J. Lawrence, ECF No. [5-1] at 12-15, Exhibit 3 to the Complaint,

  ECF No. [1-4]. Defendants are not now, nor have they ever been, authorized or licensed to use,

  reproduce, or make counterfeits, reproductions, or colorable imitations of the of the ABS-CBN

  Marks and/or perform or distribute the Copyrighted Works. See Declaration of Elisha J. Lawrence,

  ECF No. [5-1] at 12-15.

          As part of its ongoing investigation regarding the infringement of its intellectual property,

  on behalf of Plaintiffs, Stephen M. Gaffigan, P.A. performed an investigation into the advertising

  accounts used by Defendants. See Declaration of Christine Ann Daley, ECF No. [5-2] at 5. By

  inspecting the Hyper Text Markup Language (“html”) Source Code for the Internet websites

  operating under the Subject Domain Names,3 Stephen M. Gaffigan, P.A. was able to specifically

  3
    The Subject Domain Names gmanetwork.su (Defendant Number 5), pinoylambinganako.su (Defendant
  Number 5), and pariwiki.ch (Defendant Number 14) use the supporting domain name playbox.xyz to
  frame advertisements on the respective Subject Domain Names. The Subject Domain Names iwanttv.su
  (Defendant Number 8), pinoylambingantvhd.su (Defendant Number 8), and lambingansutv.com
  (Defendant Number 11) use the supporting domain name biggboss123.me to frame advertisements on the
  respective Subject Domain Names. This is believed to be done to avoid violating the terms and services
  agreement of their advertising companies for infringing Plaintiffs’ and others’ trademarks and copyrights.


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  locate and identify many of the advertising revenue accounts of the Defendants, which are

  identified on Schedule “B,” along with Defendants’ associated e-mail addresses as identified in

  the publicly available domain name registration data for Defendants or directly on Defendants’

  websites operating under the Subject Domain Names. See Declaration of Christine Ann Daley,

  ECF No. [5-2] at 3, 5 n.2. Plaintiffs’ representative conducted a review of and visually inspected

  the Internet websites operating under the Subject Domain Names or the web page captures of the

  Subject Domain Names and determined the distribution services offered by Defendants were not

  genuine or authorized distribution services of Plaintiffs’ Copyrighted Works. See Declaration of

  Elisha J. Lawrence, ECF No. [5-1] at 13-15.

          On October 29, 2019, Plaintiffs filed their Complaint, ECF No. [1], against Defendants for

  trademark counterfeiting and infringement, false designation of origin, cybersquatting, common

  law unfair competition, common law trademark infringement, and direct and contributory

  infringement of copyright. On October 29, 2019, Plaintiffs also filed their Ex Parte Application

  for Entry of Temporary Restraining Order, Preliminary Injunction, and Order Restraining Transfer

  of Assets, ECF No. [5]. On October 31, 2019, this Court entered a sealed Temporary Restraining

  Order, enjoining Defendants, from, among other actions, continuing to advertise, promote,

  distribute and publicly perform the Copyrighted Works using counterfeits, reproductions, and/or

  colorable imitations of the ABS-CBN Marks. The Temporary Restraining Order also directed the

  advertising services as identified on Schedule “B” hereto to identify and restrain funds in payment

  accounts associated with Defendants and to divert those funds to a holding account. Pursuant to

  the Court’s October 31, 2019 Order, Plaintiffs served Defendants with a copy of the Complaint

  together with copies of the Ex Parte Application for Entry of Temporary Restraining Order,


  See Declaration of Christine Ann Daley, ECF No. [5-2] at 5 n.1, and Composite Exhibit 2 thereto.



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  Preliminary Injunction, and Order Restraining Transfer of Assets, and the Court’s October 31,

  2019 Temporary Restraining Order, thereby providing notice and copies of the October 31, 2019

  Temporary Restraining Order and Plaintiffs’ Ex Parte Application for Entry of Temporary

  Restraining Order, Preliminary Injunction, and Order Restraining Transfer of Assets via email to

  each Defendant’s corresponding email/online contact form, and by posting copies of the

  Temporary Restraining Order and all other pleadings and documents on file in this action on the

  website located at http://servingnotice.com/BSNL4U/index.html. Thereafter, Certificates of Service

  were filed confirming service on each Defendant, ECF Nos. [16], [17], and [18].

                                     II.     LEGAL STANDARD

          To obtain a preliminary injunction, a party must demonstrate “(1) a substantial likelihood

  of success on the merits; (2) that irreparable injury will be suffered if the relief is not granted; (3)

  that the threatened injury outweighs the harm the relief would inflict on the non-movant; and (4)

  that the entry of the relief would serve the public interest.” Schiavo ex. rel Schindler v. Schiavo,

  403 F.3d 1223, 1225-26 (11th Cir. 2005); see also Levi Strauss & Co. v. Sunrise Int’l. Trading

  Inc., 51 F.3d 982, 985 (11th Cir. 1995).

                                           III.    ANALYSIS

          The declarations Plaintiffs submitted in support of its Motion for Preliminary Injunction

  support the following conclusions of law:

          A.      Plaintiffs have a strong probability of proving at trial that consumers are likely to

  be confused by Defendants’ advertisement, promotion, distribution and public performance of the

  Copyrighted Works using counterfeits, reproductions, and/or colorable imitations of the ABS-

  CBN Marks, and that the services Defendants are offering and promoting are unauthorized

  distribution services using the ABS-CBN Marks;




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         B.        Because of the infringement of the ABS-CBN Marks and Copyrighted Works,

  Plaintiffs are likely to suffer immediate and irreparable injury if a preliminary injunction is not

  granted. The following specific facts, as set forth in Plaintiffs’ Complaint, Motion for Preliminary

  Injunction, and accompanying declarations on file, demonstrate that immediate and irreparable

  loss, damage, and injury will result to Plaintiffs and to consumers because it is more likely true

  than not that:

                   1.     Defendants own or control Internet websites, domain names, or businesses

  which advertise, promote, and/or offer distribution services using counterfeit and infringing

  trademarks and infringe the Copyrighted Works in violation of Plaintiffs’ rights; and

                   2.     There is good cause to believe that Defendants will continue to violate

  Plaintiffs’ intellectual property rights and offer more distribution services of copyrighted content

  under counterfeit and infringing versions of Plaintiffs’ trademarks; that consumers are likely to be

  misled, confused, or disappointed by the quality of these services; and that Plaintiffs may suffer

  loss of sales for their genuine services and an unnatural erosion of the legitimate marketplace in

  which they operate

         C.        The balance of potential harm to Defendants in restraining their trade in counterfeit

  and infringing branded services if a preliminary injunction is issued is far outweighed by the

  potential harm to Plaintiffs, their reputations, and goodwill as a manufacturer and distributor of

  quality entertainment content if such relief is not issued; and

         D.        The public interest favors issuance of the preliminary injunction in order to protect

  Plaintiffs’ trademark and copyright interests and protect the public from being defrauded by the

  palming off of counterfeit services as Plaintiffs’ genuine services.

         E.        Under 15 U.S.C. § 1117(a), Plaintiffs may be entitled to recover, as an equitable




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  remedy, the illegal profits gained through Defendants’ distribution of and profits from services

  using counterfeits and infringements of the ABS-CBN Marks and Copyrighted Works. See Reebok

  Int’l, Ltd. v. Marnatech Enters., Inc., 970 F.2d 552, 559 (9th Cir. 1992) (quoting Fuller Brush

  Prods. Co. v. Fuller Brush Co., 299 F.2d 772, 777 (7th Cir. 1962) (“An accounting of profits under

  § 1117(a) is not synonymous with an award of monetary damages: ‘[a]n accounting for profits . . .

  is an equitable remedy subject to the principles of equity.’”)).

         F.      Requesting equitable relief “invokes the district court’s inherent equitable powers

  to order preliminary relief, including an asset freeze, in order to assure the availability of

  permanent relief.” Levi Strauss & Co., 51 F.3d at 987 (11th Cir. 1995) (citing Fed. Trade Comm’n

  v. United States Oil & Gas Corp., 748 F.2d 1431, 1433-34 (11th Cir. 1984)).

         G.      In light of the inherently deceptive nature of the piracy business, and the likelihood

  that Defendants have violated federal trademark and copyright laws, Plaintiffs have good reason

  to believe Defendants will hide or transfer their ill-gotten assets beyond the jurisdiction of

  this Court unless those assets are restrained.

                                        IV.        CONCLUSION

         Accordingly, after due consideration, it is ORDERED AND ADJUDGED that Plaintiff’s

  Motion, ECF No. [5], is GRANTED as follows:

         (1)     Each Defendant, its officers, directors, employees, agents, subsidiaries,

  distributors, and all persons in active concert or participation with any Defendant having notice of

  this Order are enjoined and restrained until further Order of this Court:

                     a. From advertising, promoting, copying, broadcasting, publicly performing,
                        and/or distributing any of the Plaintiffs’ content or copyrighted works,
                        including but not limited to those works specifically identified in paragraph
                        26 of the Complaint, Exhibit 2 to the Complaint, ECF No. [1-3], and/or
                        Exhibit 3 to the Complaint, ECF No. [1-4];




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                     b. From advertising, advertising, promoting, offering, distributing, using,
                        and/or causing to be advertised, promoted, offered and/or distributed, any
                        services using the ABS-CBN Marks, or any confusingly similar trademarks,
                        other than those actually offered or distributed by Plaintiffs; and

                     c. From secreting, concealing, destroying, selling off, transferring, or
                        otherwise disposing of: (i) any evidence relating to the promotion,
                        advertisement, procurement, and/or distribution of services or copyrighted
                        content bearing or under the ABS-CBN Marks, or any confusingly similar
                        trademarks or public performances or distributions of Plaintiffs’
                        Copyrighted Works; (ii) any assets or other financial accounts subject to
                        this Order, including assets held by any advertising services, including but
                        not limited to those identified on Schedule “B” hereto, in the actual or
                        constructive possession of, or owned, controlled or held by, or subject to
                        access by, any of the Defendants, including but not limited to any assets
                        held by or on behalf of any of the Defendants.

         (2)     Each Defendant, its officers, directors, employees, agents, subsidiaries,

  distributors, and all persons in active concert or participation with any Defendant having notice of

  this Order shall immediately discontinue, until further Order of this Court, the use of the ABS-

  CBN Marks or any confusingly similar trademarks, on or in connection with all Internet websites,

  domain names, or businesses owned and operated, or controlled by them, including the Internet

  websites operating under the Subject Domain Names;

         (3)     Each Defendant, its officers, directors, employees, agents, subsidiaries,

  distributors, and all persons in active concert or participation with any Defendant having notice of

  this Order shall immediately discontinue, until further Order of this Court, the use of the ABS-

  CBN Marks and/or the names of the Copyrighted Works, or any confusingly similar trademarks

  within domain name extensions, metatags or other markers within website source code, from use

  on any webpage (including the title of any web page), from any advertising links to other websites,

  from search engines’ databases or cache memory, and any other form of use of such terms that are

  visible to a computer user or serves to direct computer searches to websites registered, owned, or




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  operated by each Defendant, including the Internet websites operating under the Subject Domain

  Names;

         (4)       Each Defendant shall not transfer ownership of the Subject Domain Names during

  the pendency of this Action, or until further Order of the Court;

         (5)       Each Defendant shall continue to preserve copies of all computer files relating to

  the use of any of the Subject Domain Names and shall take all steps necessary to retrieve computer

  files relating to the use of the Subject Domain Names that may have been deleted before the entry

  of this Order;

         (6)       Upon Plaintiffs’ request, the privacy protection service for any of the Subject

  Domain Names for which the registrant uses such privacy protection service to conceal the

  registrant’s identity and contact information is ordered to disclose, to the extent not already done,

  to Plaintiffs the true identities and contact information of those registrants;

         (7)       The domain name registrars for the Subject Domain Names shall immediately, to

  the extent not already done, assist in changing the registrar of record for the Subject Domain

  Names to a holding account with a registrar of Plaintiffs’ choosing (the “New Registrar”),

  excepting any such domain names which such registrars have been notified in writing by Plaintiffs

  have been or will be dismissed from this action, or as to which Plaintiffs have withdrawn their

  request to immediately transfer such domain names. To the extent the registrars do not assist in

  changing the registrars of record for the domains under their respective control within one business

  day of receipt of this Order, the top-level domain (TLD) registries, for the Subject Domain Names,

  or their administrators, including backend registry operators or administrators, within five business

  days of receipt of this Order, shall change, or assist in changing, the registrar of record for the

  Subject Domain Names to a holding account with the New Registrar, excepting any such domain




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  names which such registries have been notified in writing by Plaintiffs have been or will be

  dismissed from this action, or as to which Plaintiffs have withdrawn their request to immediately

  transfer such domain names. Upon the change of the registrar of record for the Subject Domain

  Names, the New Registrar will maintain access to the Subject Domain Names in trust for the Court

  during the pendency of this action. Additionally, the New Registrar shall immediately institute a

  temporary 302 domain name redirection which will automatically redirect any visitor to the

  Subject         Domain   Names    to   the   following   Uniform    Resource    Locator    (“URL”)

  http://servingnotice.com/BSNL4U/index.html whereon copies of the Complaint, this Order, and all

  other documents on file in this action are displayed. Alternatively, the New Registrar may update

  the Domain Name System (“DNS”) data it maintains for the Subject Domain Names, which link

  the domain names to the IP addresses where their associated websites are hosted, to

  NS1.MEDIATEMPLE.NET and NS2.MEDIATEMPLE.NET, which will cause the domain names

  to resolve to the website where copies of the Complaint, this Order, and all other documents on

  file in this action are displayed. After the New Registrar has effected this change, the Subject

  Domain Names shall be placed on lock status by the New Registrar, preventing the modification

  or deletion of the domains by the New Registrar or Defendants;

            (8)      Upon receipt of notice of this Order, Defendants and the advertising services,

  networks and/or platforms identified on Schedule “B” hereto (the “Advertising Services”), and all

  financial institutions, payment processors, banks, escrow services, and/or money transmitters, and

  their related companies and affiliates, shall, to the extent not already done, immediately identify

  and restrain all funds, as opposed to ongoing account activity, in the advertising accounts related

  to Defendants, and their associated payment accounts and e-mail addresses, as identified on

  Schedule “B” hereto, as well as all funds in or which are transmitted into (i) any other accounts of




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  the same customer(s); (ii) any other accounts which transfer funds into the same financial

  institution/advertising account(s), and/or any of the other accounts subject to this Order; and (iii)

  any other financial institution/advertising accounts tied to or used by any of the Subject Domain

  Names identified on Schedule “B” hereto; and (iv) immediately divert those restrained funds into

  a holding account for the trust of the Court;

         (9)     Upon receipt of notice of this Order, Defendants and all financial institutions,

  payment processors, bank, escrow services, money transmitters, or marketplace platforms

  receiving notice of this Order, including but not limited to, the Advertising Services identified on

  Schedule “B” hereto, and their related companies and affiliates, shall further, to the extent not

  already done, provide Plaintiffs’ counsel with all data that details (i) an accounting of the total

  funds restrained and identifies the financial account(s) and sub-account(s) which the restrained

  funds are related to, and (ii) the account transactions related to all funds transmitted into the

  financial account(s) and sub-account(s) which have been restrained. No funds restrained by this

  Order shall be transferred or surrendered by any financial institution, payment processor, bank,

  escrow service, money transmitter, or advertising service, including but not limited to the

  Advertising Services identified on Schedule “B” hereto, and their related companies and affiliates

  for any purpose (other than pursuant to a chargeback made pursuant to their security interest

  in the funds) without the express authorization of this Court;

         (10)    This Order shall apply to the Subject Domain Names, associated websites, and any

  other domain names, websites, corresponding websites’ URLs, financial accounts, or advertising

  services accounts properly brought to the Court’s attention and verified by sworn affidavit that

  such new domain names are being used by Defendants for the purpose of counterfeiting the ABS-




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  CBN Marks, infringing the Copyrighted Works, or unfairly competing with Plaintiffs on the World

  Wide Web;

          (11)    Any Defendant or financial institution account holder subject to this Order may

  petition the Court to modify the asset restraint set out in this Order;

          (12)    As a matter of law, this Order shall no longer apply to any Defendant or associated

  domain name dismissed from this action, or as to which Plaintiffs have withdrawn their request

  for a preliminary injunction;

          (13)    Pursuant to 15 U.S.C. § 1116(d)(5)(D) and Federal Rule of Civil Procedure 65(c),

  Plaintiffs shall maintain its previously posted bond in the amount of Ten Thousand Dollars and

  Zero Cents ($10,000.00), as payment of damages to which Defendants may be entitled for a

  wrongful injunction or restraint, during the pendency of this action, or until further Order of the

  Court. In the Court’s discretion, the bond may be subject to increase should an application be made

  in the interest of justice;

          (14)    Additionally, for the purpose of providing additional notice of this proceeding, and

  all other pleadings, orders, and documents filed herein, the owners, operators and/or administrators

  of the Advertising Services as identified on Schedule “B” hereto, shall, to the extent not already

  done, at Plaintiffs’ request, provide Plaintiffs’ counsel with any e-mail address known to be

  associated with Defendants’ respective advertising accounts and/or Subject Domain Names;

          (15)    This Order shall remain in effect during the pendency of this action, or until further

  Order of this Court.




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        DONE AND ORDERED in Chambers, at Miami, Florida, on November 13, 2019.




                                              ________________________________
                                              BETH BLOOM
                                              UNITED STATES DISTRICT JUDGE

  Copies to:
  Counsel of Record




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                             SCHEDULE “A”
             DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                        Def. No.           Domain Name
                               1   abscbnpinoy.com
                               2   Europixhd.com
                               3   fullasiantv.com
                               4   fulltagalogmovies.me
                               5   gmanetwork.su
                               5   pinoylambinganako.su
                               5   playbox.su
                               6   hdfullpinoymovies.com
                               7   hdreplay.su
                               7   pinoylambinganteleserye.su
                               8   iwanttv.su
                               8   pinoylambingantvhd.su
                               9   kidstva.co
                              10   lambinganpinoytambayantv.su
                              10   pinoytambayanlambingantv.su
                              10   pinoytvtambayanlambingan.su
                              10   tambayanatlambingan.su
                              11   lambingansutv.com
                              11   movierulz.stream
                              12   ofwpinoytvshows.su
                              12   pinoybaytv.su
                              12   pinoylambinganflix.su
                              12   pinoylambinganreplays.su
                              12   pinoylambinganteleserye.net
                              12   pinoytvhd.su
                              12   tambayanreplay.su
                              13   ofwshow.ru
                              14   pariwiki.ch
                              15   pinoyflixreplay.su
                              16   pinoyhdonline.su
                              17   pinoyhdreplay.ch
                              18   pinoymoviepedia.ru
                              19   pinoymovieshub.tv
                              20   pinoyreplaytv.su
                              21   pinoyteleseryes.su
                              22   pinoytoday.su


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                        Def. No.            Domain Name
                              23   pinoytv.re
                              24   pinoytvchannelreplay.su
                              25   pinoytvrecap.su
                              26   pinoytvtime.su
                              27   politicsslashletters.live
                              28   siliptv.su
                              29   sinepinoy.info
                              30   thepariwiki.com
                              31   verystreamtv.com




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                           SCHEDULE “B”
  DEFENDANTS BY NUMBER, SUBJECT DOMAIN NAME, ADVERTISING ACCOUNT
   INFORMATION, AND ASSOCIATED E-MAIL ADDRESSES/PAYPAL ACCOUNTS

    Def.     Domain            Advertising             Account                  Registrant
    No.       Name           Service/Platform         Identifier              E-mail Address

      1 abscbnpinoy.com      N/A                N/A                   fiazrasool05@gmail.com

                                                                      6e29f11be8db4e629157e9c87e9
      2 Europixhd.com        N/A                N/A                   bc967.protect@whoisguard.com

                             Google Adsense,    ca-pub-          f44499b1ff774de48e53a9d09532
      3 fullasiantv.com      Google LLC         3821092466638318 9d94.protect@whoisguard.com
        fulltagalogmovies.   popads.net
      4 me                   Tomksoft S.A.      3538361               Not listed
        gmanetwork.su        Google
        (framed on           DoubleClick,
      5 playbox.xyz)         Google LLC         http://playbox.xyz/   waqarkhanmalghani@gmail.com
        pinoylambinganak
        o.su                 Google
        (framed on           DoubleClick,
      5 playbox.xyz)         Google LLC         http://playbox.xyz/   waqarkhanmalghani@gmail.com

      5 playbox.su           N/A                N/A                   waqarkhanmalghani@gmail.com
        hdfullpinoymovie
      6 s.com                N/A                N/A                   6842447@whoisprotection.biz
      7 hdreplay.su          N/A                N/A                   cashorika@gmail.com
        pinoylambingantel
      7 eserye.su            N/A                N/A                   cashorika@gmail.com
        iwanttv.su           Google
        (framed on           DoubleClick,       https://biggboss123
      8 biggboss123.me)      Google LLC         .me/                  pinoymovies.su@gmail.com
        pinoylambingantv
        hd.su                Google
        (framed on           DoubleClick,       https://biggboss123
      8 biggboss123.me)      Google LLC         .me/                  pinoymovies.su@gmail.com

                             Google Adsense,    ca-pub-
      9 kidstva.co           Google LLC         5302215400293420 admin@aliwan.info

        lambinganpinoyta     Google Adsense,    ca-pub-
     10 mbayantv.su          Google LLC         1593569282303938 paktvsite@gmail.com




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    Def.     Domain           Advertising             Account                  Registrant
    No.       Name          Service/Platform         Identifier              E-mail Address

        pinoytambayanla     Google Adsense,    ca-pub-
     10 mbingantv.su        Google LLC         2154317906897324 paktvsite@gmail.com

        pinoytvtambayanl    Google Adsense,    ca-pub-
     10 ambingan.su         Google LLC         2154317906897324 paktvsite@gmail.com
        tambayanatlambin
     10 gan.su              N/A                N/A                   paktvsite@gmail.com
        lambingansutv.co
        m                   Google
        (framed on          DoubleClick,       https://biggboss123
     11 biggboss123.me)     Google LLC         .me/                  Not listed
                            popads.net
     11 movierulz.stream    Tomksoft S.A.      3603072               abuse@movierulz.stream

        ofwpinoytvshows.    Google Adsense,    ca-pub-
     12 su                  Google LLC         3388398459928305 javirock906@gmail.com

                            Google Adsense,    ca-pub-
     12 pinoybaytv.su       Google LLC         6052202555377760 javirock906@gmail.com



        pinoylambinganfli   Google Adsense,    ca-pub-          javirock906@gmail.com
     12 x.su                Google LLC         1256604383590629 pinoylambinganflix@gmail.com

        pinoylambingantel   Google Adsense,    ca-pub-
     12 eserye.net          Google LLC         1715847515243954 javirock906@gmail.com

                            Google Adsense,    ca-pub-
     12 pinoytvhd.su        Google LLC         7772575731834210 javirock906@gmail.com
        pinoylambinganre
     12 plays.su            N/A                N/A                   javirock906@gmail.com

     12 tambayanreplay.su N/A                  N/A                   javirock906@gmail.com

                            Google Adsense,    ca-pub-
     13 ofwshow.ru          Google LLC         2636869081690729 admin@aliwan.info
        pariwiki.ch         Google
        (framed on          DoubleClick,
     14 playbox.xyz)        Google LLC         http://playbox.xyz/   Not Listed




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    Def.      Domain             Advertising             Account                    Registrant
    No.        Name            Service/Platform         Identifier                E-mail Address

                               Google Adsense,    ca-pub-
     15 pinoyflixreplay.su     Google LLC         8204335281985188 herpalasif@gmail.com

                               Google Adsense,    ca-pub-
     16 pinoyhdonline.su       Google LLC         2213578161009237 tahseenm57@gmail.com
     17 pinoyhdreplay.ch       N/A                N/A              Not Listed
        pinoymoviepedia.r
     18 u                      N/A                N/A                      Not Listed

        pinoymovieshub.t                                                   387a81858d@pinoymovieshub.t
     19 v                      N/A                N/A                      v.whoistrustee.com
                                                                           pinoyreplaytv.su@whoisprotects
     20 pinoyreplaytv.su       N/A                N/A                      ervice.net
                                                                           pinoyteleseryes.su@whoisprotec
     21 pinoyteleseryes.su     N/A                N/A                      tservice.net

                               Google Adsense,    ca-pub-
     22 pinoytoday.su          Google LLC         5707561695084980 malikhassan.qc@gmail.com

                               Google Adsense,    ca-pub-
     23 pinoytv.re             Google LLC         2393545343030923 Not Listed

        pinoytvchannelrep      Google Adsense,    ca-pub-
     24 lay.su                 Google LLC         8204335281985188 herpalasif41@gmail.com
                                                                           pinoytvrecap.su@whoisprotectse
     25 pinoytvrecap.su        N/A                N/A                      rvice.net

     26 pinoytvtime.su         N/A                N/A                      cuteqaisrani@gmail.com
                               mgid.com,
        politicsslashletters   MGID Inc.          politicsslashletters.l
     27 .live                  MGID UA            ive                      Not Listed

                               Google Adsense,    ca-pub-          siliptv.su@whoisprotectservice.n
     28 siliptv.su             Google LLC         1617990917998321 et

                               popads.net                                  3866317a204942648a1f2be9e29
     29 sinepinoy.info         Tomksoft S.A.      3453841                  8458f.protect@whoisguard.com

     30 thepariwiki.com        N/A                N/A                      aayanhaider8@gmail.com




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    Def.     Domain          Advertising            Account               Registrant
    No.       Name         Service/Platform        Identifier           E-mail Address
                           mgid.com,
                           MGID Inc.                             88cde2e1e5a94b199252f90a5f63
     31 verystreamtv.com   MGID UA            verystreamtv.com   1523.protect@whoisguard.com




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